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AO 458 (Rev. 06/09) Appearance of Counsel


                                     UNITED STATES DISTRICT COURT
                                                               for the
                                                  __________  District
                                                        District       of __________
                                                                 of Columbia


                  United States of America                        )
                             Plaintiff                            )
                                v.                                )      Case No. 23-mj-00014
                                                                                  1:23-cr-00144
                         Joshua Abate                             )
                            Defendant                             )

                                                      APPEARANCE OF COUNSEL

To:       The clerk of court and all parties of record

          I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

        Joshua Abate                                                                                                         .


Date:         April 5, 2023                                                              /s/ David J Dischley
                                                                                           Attorney’s signature

                                                                                  David J. Dischley, Bar No. VA159
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